                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK


Yunseo CHUNG,

               Plaintiff-Petitioner,

v.                                                     Case No. 25-cv-2412
Donald J. TRUMP, in his official capacity as
President of the United States of America; Marco
RUBIO, in his official capacity as Secretary of
State, U.S. Department of State; Pamela BONDI,
in her official capacity as Attorney General, U.S.
Department of Justice; Kristi NOEM, in her
official capacity as Secretary of Homeland
Security, U.S. Department of Homeland Security;
Todd M. LYONS, in his official capacity as
Acting Director, U.S. Immigration and Customs
Enforcement; and William P. JOYCE, in his
official capacity as Acting Field Office Director of
the New York Immigration and Customs
Enforcement Office,

               Defendants-Respondents.


                   MEMORANDUM OF LAW IN OPPOSITION TO
                DEFENDANTS-RESPONDENTS’ MOTION TO DISMISS




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                                      PRELIMINARY STATEMENT

         In their memorandum in support of their motion to dismiss, ECF 33 (“Mem.”), Defendants-

Respondents (“Defendants”) do not contest the key facts that decide this motion: (1) there is a

government policy to retaliate against noncitizens for their constitutionally protected advocacy

with the explicit purpose to chill and punish disfavored viewpoints (the “Policy”); and (2) the

application of the Policy to Ms. Chung led to the Rubio Determination, which found that Ms.

Chung’s presence or activities in the United States would have potentially serious adverse foreign

policy consequences for the United States or would compromise a compelling U.S. foreign policy

interest based only on Ms. Chung’s protected First Amendment activity. Instead, Defendants

misconstrue Ms. Chung’s claims to argue that the INA forbids this Court from hearing them. In so

doing, Defendants ignore key language in the INA; expansively read statutes the Supreme Court

and Second Circuit have repeatedly construed narrowly; and advocate a nonsensical and unjust

approach to judicial review that cannot be squared with the INA nor binding precedent.

                                                BACKGROUND

         In March 2025, Secretary of State Rubio began implementing the Policy, targeting Ms.

Chung and others for their lawful “past, current, or expected beliefs, statements, or associations,”

and specifically for their association with Palestinian human rights advocacy. See Ex. A to ECF

34 (“Vides Decl.”).1 In each case, regardless of procedural posture or ground of removability,

Defendants have endeavored to evade any judicial review of the Policy, its application to particular

individuals (including permanent residents) for political speech, or the unconstitutional detention


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      The Rubio Determination was based on Ms. Chung’s participation in protests, and also Ms. Chung’s citation
during a protest on March 5, 2025. The government has clarified that it was based on her participation in the March
5, 2025 protest, see ECF 34 at 2 ¶¶ 3–6; Mem. at 9, which criticized Columbia University’s handling of student
disciplinary proceedings. See ECF 1 at ¶ 4. All charges against her have been dismissed. See Levitova Decl., Ex. A.
Any claim of unlawful conduct claim is thus baseless. Additionally, as of the date of this filing, Ms. Chung is in good
standing at Columbia University. See id., ¶ 3.


                                                          1
to which those individuals are subject. See ECF 1 at ¶¶ 99–140 (describing targeting of others).

They have continued to argue that detained students such as Mr. Khalil,2 a permanent resident like

Ms. Chung, and Dr. Suri,3 cannot challenge their unconstitutional detention, raising similar

arguments to those here. Since this action was filed, Defendants have also apprehended other

students, such as Rümeysa Öztürk, who was likewise spirited thousands of miles from her home,

across multiple state lines to Louisiana, Ozturk v. Trump, No. 2:25-cv-374, 2025 WL 1145250, at

*2–4 (D. Vt. Apr. 18, 2025), and permanent resident Mohsen Mahdawi, whose transfer to

Louisiana was prevented only by a court order. Order at 1, Mahdawi v. Trump, No. 25-cv-389 (D.

Vt. Apr. 24, 2025), ECF 34. In both cases, the government has fought vociferously to prevent

judicial review of targeting or detention, raising the same jurisdictional bars as here (among

others). See Emergency Mot., Ozturk v. Hyde, 25-1019 (2d Cir. Apr. 24, 2025), ECF 19.1; Pre-

Hearing Submission, Mahdawi v. Trump, No. 25-cv-389 (D. Vt. Apr. 22, 2025), ECF 25.

                                                 ARGUMENT

         Defendants invoke a series of jurisdictional obstacles, but all depend on misconstruing Ms.

Chung’s claims while ignoring clear statutory text and settled authority establishing her claims are

reviewable. Nor do other defects bar Ms. Chung’s claims.

I.       THERE ARE NO JURISDICTIONAL BARS TO MS. CHUNG’S CLAIMS.

         A.      Section 1252(g) Does Not Bar Ms. Chung’s Claims

         Defendants invoke 8 U.S.C. § 1252(g) to argue this Court lacks jurisdiction to hear any of

Ms. Chung’s claims, suggesting that each is at bottom a challenge to the routine discretionary



     2
       Petition for Permission to Appeal under 28 U.S.C. Section 1292(b), Khalil v. Joyce, No. 25-08019 (3d Cir. Apr.
14, 2025), ECF 1 (seeking interlocutory appeal of order keeping habeas jurisdiction in District of New Jersey).
     3
      See Memorandum of Law in Support of Motion to Dismiss or Transfer, Suri v. Trump et al., No. 1:25-cv-00480
(E.D. Va. Apr. 1, 2025), ECF 26.


                                                         2
decision to commence removal proceedings. ECF 33 at 6–11. This misconstrues the nature of the

relief she seeks and the procedural context in which her claims arise.

        Ms. Chung’s claims revolve around (1) the Policy to retaliate against noncitizens for their

constitutionally protected advocacy; (2) the application of the Policy to her, which led to the Rubio

Determination, subjecting her to, inter alia, the threat of arrest and detention; and (3) Defendants’

overt efforts to retaliate against Ms. Chung for her speech by seeking her arrest, detention, and

transfer. None of these claims challenges the three discrete actions listed under 1252(g).

                 1.       Ms. Chung does not challenge the commencement of removal
                          proceedings.

        Section 1252(g) does not apply to Ms. Chung’s claims because she does not challenge any

discretionary “decision or action by the Attorney General to commence proceedings, adjudicate

cases, or execute removal orders[.]” 8 U.S.C. § 1252(g) (emphasis added).4 This narrow provision

is tethered solely to the Attorney General’s decisions with respect to these “three discrete

actions[.]” Reno v. Am.-Arab Discrimination Comm. (“AADC”), 525 U.S. 471, 482 (1999). It does

not alter a court’s jurisdiction to review the “many other decisions or actions that may be part of

the deportation process—such as the decisions to open an investigation[.]” Id. at 483.

        For reasons also stated in Ms. Chung’s simultaneously filed reply in further support of her

preliminary injunction motion, 1252(g) is inapplicable to the decision to detain.

        Defendants’ argument that 1252(g) bars review of Ms. Chung’s challenges to the Policy

and the Rubio Determination is foreclosed by the statutory text. Their attempt to stretch that text

to reach circumstances to which it has never been applied is utterly without support in precedent

or logic. First, neither the Rubio Determination nor the underlying Policy constitutes an “action by


    4
     This authority has been re-delegated, and is now exclusively exercised by, the Secretary of Homeland Security.
6 U.S.C. § 202(3), such that 1252(g)’s reference to “Attorney General” now denotes the DHS Secretary.


                                                        3
the [DHS Secretary] to commence proceedings[.]” 8 U.S.C. 1252(g). Dispositively, the Rubio

Determination was not an action taken by the DHS Secretary at all, as the text expressly requires,

but rather by the Secretary of State, who has no authority whatsoever to “commence

proceedings[.]” The authority to commence proceedings is exclusively vested with the DHS

Secretary. See Ali v. Mukasey, 524 F.3d 145, 150 (2d Cir. 2008) (“The Homeland Security Act …

transferred authority to commence removal proceedings … to the Secretary of DHS.”). Indeed,

Defendants concede that neither the Policy nor the Rubio Determination itself “commence[s]

proceedings.” See ECF 33 (“ICE has been unable to … commenc[e] removal proceedings.”). The

Court need go no further: this alone is sufficient to make 1252(g) inapplicable.

       Separately, the Supreme Court has squarely rejected Defendants’ position that 1252(g)

sweeps in actions such as implementation of the Policy and the Rubio Determination, which are

arguably connected to, but distinct from, the actions listed in the statute. In Dep’t of Homeland

Sec. v. Regents of the Univ. of California, 591 U.S. 1 (2020), mirroring their position here,

Defendants argued that the rescission of DACA constituted “an initial ‘action’ in DHS’s

‘commence[ment] of proceedings’ within the meaning of Section 1252(g).” Brief of Petitioners at

21, 18-587 (Aug. 19, 2019), ECF 1. The Court rejected this position without so much as discussing

it, emphasizing that 1252(g) is “narrow,” Regents, 591 U.S. at 19, consistent with longstanding

authority that 1252(g) “refer[s] to just those three specific actions themselves.” Jennings v.

Rodriguez, 583 U.S. 281, 294 (2018); see also Catholic Soc. Servs., Inc. v. Immigr. and

Naturalization Serv., 232 F.3d 1139 (9th Cir. 2000) (en banc) (finding 1252(g) did not bar review

of plaintiffs’ challenge to policy that led to denial of applications for legalization, even though

denial of legalization applications could lead to decision to commence removal proceedings). As

Defendants acknowledge, the Rubio Determination necessarily precedes and is distinct from any



                                                4
decision to commence proceedings: DHS must separately decide whether to commence

proceedings and may well decide not to do so. Defendants do not argue—nor could they—that

DHS is required by statute or otherwise to commence proceedings because of the Rubio

Determination, nor that the Rubio Determination itself commences proceedings. See Mem. 10.

Thus, 1252(g) poses no obstacle to Ms. Chung’s challenge to a determination made by the

Secretary of State (and the Policy on which that determination was based).

       Courts have uniformly found that where, as here, a claim challenges decisions upstream of

the discretionary decision to commence proceedings, 1252(g) poses no obstacle. See, e.g., Ali, 524

F.3d at 150 (reviewing denial of request to withdraw asylum application, notwithstanding that

resulting adjudication of meritless asylum application directly led to decision to commence

proceedings); Ragbir v. United States, No. 17-1256, 2018 WL 1446407, at *9 (D.N.J. Mar. 23,

2018) (holding 1252(g) does not bar challenge to legal decision that put Ragbir “within th[e] class

of removable aliens” against whom proceedings could be started, because it is “upstream” of

discretionary decision to commence proceedings). Nor does it bar challenges to upstream policy

decisions to target for deportation certain classes of persons, as here. See NWDC Resistance v.

Immigr. & Customs Enf't, 493 F. Supp. 3d 1003, 1011 (W.D. Wash. 2020) (holding 1252(g) does

not bar review of “challenge [to] the constitutionality of ICE’s ‘policy choice’ to target outspoken

[noncitizens]” because it does not challenge provision’s “three discrete actions”). Ms. Chung’s

challenges to the Policy and Rubio Determination are no different than these challenges to other

upstream actions that lead, or render someone amenable, to removal proceedings, and are likewise

reviewable. Defendants point to no case—and there is none—in which 1252(g) was applied to bar

review of the actions of a different executive branch agency that precede the commencement of




                                                 5
removal proceedings. Extending 1252(g) to these circumstances would defy both precedent and

statutory text.

        Insofar as Ms. Chung’s claims challenge DHS actions (apart from State Department

actions), they challenge conduct akin to opening an investigation in contemplation of removal

proceedings. In AADC, the Supreme Court expressly found ancillary decisions “such as the

decisions to open an investigation” were not subject to the 1252(g) bar. AADC, 525 U.S. at 482.

Other courts have similarly found that claims closely related to the initiation of removal

proceedings, including against policies that render noncitizens removable or lead to the later

decision to commence proceedings, are not precluded by 1252(g). See, e.g., Orozco-Velasquez v.

Att’y Gen., 817 F.3d 78 (3d Cir. 2016) (rejecting application of 1252(g) to claims concerning

deficient Notice to Appear); Regents of the Univ. of California v. U.S. Dep’t of Homeland Sec.,

908 F.3d 476, 504 (9th Cir. 2018) (permitting challenge to DACA rescission policy even though

it could be conceptualized “as an ingredient in a subsequent decision to commence proceedings

against particular individuals”), aff’d in relevant part sub nom. Dep’t of Homeland Sec. v. Regents

of the Univ. of California, 591 U.S. 1 (2020); Alcaraz v. Immigr. and Naturalization Serv., 384

F.3d 1150 (9th Cir. 2004). Under this settled authority, where, as here, Ms. Chung’s claims do not

directly challenge the decision to commence proceedings itself, the claims are not barred by

1252(g).

                  2.   Alternatively, Ms. Chung challenges only Defendants’ legal authority,
                       not any discretionary decision.

        If, contrary to the dispositive authority above, the Court finds Ms. Chung’s claims

challenge the commencement of proceedings, they would still not be barred under 1252(g). That

is because she does not challenge the selective enforcement of an otherwise valid charge of

removability, but rather Defendants’ very authority to target her based on protected speech under


                                                6
a fatally vague policy of “champion[ing] core American interests and American citizens,” Vides

Decl. Ex. A.5 See, e.g., Kong v. United States, 62 F.4th 608, 618 (1st Cir. 2023) (preserving judicial

review where claim “does not arise from [a] discretionary decision” but instead “arises from the

government’s alleged violations of law . . . and in failing to abide by its own regulations”) (internal

citations omitted); Calderon v. Sessions, 330 F. Supp. 3d 944, 954 (S.D.N.Y. 2018) (exercising

jurisdiction because “Petitioner here does not challenge ICE’s prosecutorial discretion [but]

[r]ather, Petitioner challenges ICE’s legal authority to exercise such discretion when the subject

of the removal order also has a right to seek relief made available by the DHS”) (emphasis in

original); You v. Nielsen, 321 F. Supp. 3d 451, 457 (S.D.N.Y. 2018) (distinguishing discretionary

decision from whether DHS conduct “accords with the Constitution and the laws of this country”);

S.N.C. v. Sessions, No. 18-cv-7680, 2018 WL 6175902, at *6 (S.D.N.Y. Nov. 26, 2018) (similar);

see also, e.g., Madu v. Att’y Gen., 470 F.3d 1362, 1368 (11th Cir. 2006) (explaining that 1252(g)

“does not proscribe substantive review of the underlying legal bases for those discretionary

decisions and actions”); Arce v. U.S., 899 F.3d 796, 801 (9th Cir. 2018) (similar); Garcia v. Att’y

Gen., 553 F.3d 724, 729 (3d Cir. 2009) (same).

         Ms. Chung squarely challenges the extent of Defendants’ authority to target noncitizens

consistent with the First Amendment, the Fifth Amendment, and the Administrative Procedures

Act (“APA”). Defendants cannot cloak unconstitutional or unlawful conduct under the guise of



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       Ragbir v. Homan is not to the contrary. 923 F.3d 53, 64 (2d Cir. 2019), cert. granted, judgment vacated sub
nom. Pham v. Ragbir, 141 S. Ct. 227, 208 L. Ed. 2d 1 (2020). In Ragbir, the Second Circuit considered whether a
petitioner who was subject to a valid removal order based on an aggravated felony could challenge one of the three
discrete 1252(g) actions—DHS enforcement of the order—“through mere styling of [his] claims,” because the
government’s discretionary decision about when to enforce the order was predicated on “unlawful considerations.”
The Second Circuit, consistent with AADC, found that this type of selective enforcement claim, where “the
Government unquestionably had statutory authority,” falls under 1252(g). Here, Ms. Chung’s challenge is to the
unconstitutional authority given by the Foreign Policy Ground, see ECF 1, ¶¶ 92-96 (discussing history of the “Foreign
Policy Ground”), and implemented via a viewpoint-discriminatory policy. And, unlike Ragbir, Ms. Chung would be
amenable removal proceedings only because of Defendants’ unconstitutional conduct.

                                                          7
“discretion” and thereby evade judicial review. Cf. Myers & Myers, Inc. v. U.S. Postal Serv., 527

F.2d 1252, 1261 (2d Cir. 1975) (“[A] federal official cannot have discretion to behave

unconstitutionally[.]”); see also M.Q. v. United States, No. 1:22-CV-10680 (ALC) (KHP), 2025

WL 965810, at *6 (S.D.N.Y. Mar. 31, 2025) (applying Myers to challenge to legality of ICE

detention).

                   3.       Applying 1252(g) to Ms. Chung’s claims would raise significant
                            constitutional concerns this Court must avoid.

         First, even if 1252(g) were applied here, Ms. Chung’s claims would fall under the Supreme

Court’s exception for “outrageous” conduct to avoid constitutional concerns. AADC, 525 U.S. at

491. The Supreme Court found claims of selective enforcement did not offend the First

Amendment where plaintiffs’ “continuing presence in this country [was] in violation of the

immigration laws,” but did not “rule out the possibility of a rare case in which the alleged basis of

discrimination is so outrageous that the foregoing considerations can be overcome.” Id. Applying

the principle of AADC,6 the Second Circuit found the exception was met under a First Amendment

retaliation claim where the “speech implicate[d] the highest protection of the First Amendment,”

there was “plausible—indeed, strong—evidence” that the government retaliated “based on [its]

disfavor of [petitioner’s] speech (and its prominence),” and the petitioner had a “substantial

interest in avoiding deportation under these circumstances, and the Government’s interests in

avoiding any inquiry into its conduct [were] less pronounced than in AADC.” Ragbir, 923 F.3d at

73. Ms. Chung’s claims compel a similar conclusion for reasons even stronger than those in

Ragbir: Ms. Chung has not violated any immigration or criminal laws, she is a Lawful Permanent


     6
       In evaluating whether government conduct falls within this exception, “AADC compels courts to evaluate the
gravity of the constitutional right affected; the extent to which the plaintiff’s conduct or status that forms the basis for
the alleged discrimination is actually protected; the egregiousness of the Government’s alleged conduct; and the
plaintiff’s interest in avoiding selective treatment, as balanced against the Government’s discretionary prerogative.”
Ragbir, 923 F.3d at 69.


                                                             8
Resident with a compelling interest in avoiding unlawful detention, and without resorting to any

pretext, Defendants are openly retaliating against her for protected expression.7 Moreover,

Defendants have taken the apparent position that Ms. Chung’s protest of Columbia University

disciplinary policies—the subject of the March 5, 2025 protest on the basis of which she was

targeted, see supra at footnote 1—compromises a compelling foreign policy interest, an assertion

of power so broad that no limits on the scope of speech to which it might be applied are readily

discernible.

         As the Second Circuit held in Ragbir, “[t]o allow this retaliatory conduct to proceed would

broadly chill protected speech, among not only activists subject to . . . deportation but also those

citizens and other residents who would fear retaliation against others.” 923 F.3d at 71. Defendants’

outrageous conduct is only underscored by their further admission that, should they be successful

in their quest to avoid this Court’s review of Ms. Chung’s claims, they would then seek to subject

Ms. Chung to indefinite detention with no opportunity to seek release on bond before an

immigration judge. See Levitova Decl., Ex. B (Mar. 25, 2025 Hr’g Tr.) at 4:4-6, 6:21-7:1 (Mr.

Oestericher: “[M]y colleague . . . is . . . not certain there is a bond hearing available if she was

detained.”); see also Letter at 1-2, Khalil v. Trump, et al., No. 2:25-cv-1963 (April 11, 2025), ECF

190 (conceding that an immigration judge could not “review a custody determination and set

appropriate bond” based on same charge of removability) (citing 8 C.F.R. § 1003.19(h)(2)(i)(C)).



     7
       See Vides Decl., Ex. A (noting that Secretary Rubio personally determined that Ms. Chung’s presence or
activities in the United States “would compromise a compelling foreign policy interest” because of her lawful, “past,
current, or expected beliefs, statements, or associations”). Adding to the outrageousness, Defendant Rubio recently
confirmed the coercive purpose of detaining noncitizen students in Ms. Chung’s position, stating that “if [the students]
seek to self-deport they can do that, because that’s what we’ve done. We’re basically asking them to leave the country.
That’s why they’ve been detained.” Secretary of State Marco Rubio Remarks to the Press En Route to Miami, Florida,
Mar. 28, 2025, available at https://perma.cc/JUU8-GDQK. That the express purpose is to scare others adds to the
outrageousness. See Ragbir, 923 F.3d at 72 (citing effect of “broadly chill[ing] protected speech, among not only
activists subject to final orders of deportation but also those citizens and other residents who would fear retaliation
against others”).

                                                           9
In sum, ICE’s unprecedented targeting of a student activist for detention and deportation based on

campus speech is so patently outrageous that, pursuant to the exception recognized in AADC and

applied in Ragbir, 1252(g) cannot be read to withdraw jurisdiction to review her claims.8

        Second, Ms. Chung’s claims are also squarely protected under the Suspension Clause.9

Defendants suggest that 1252(g) divests this Court’s jurisdiction to review the legality of their

retaliation against Ms. Chung for her protected First Amendment activity but the Second Circuit

has already expressly rejected that argument. See Ragbir, 923 F.3d at 78 (finding that

“constitutionally required scope of the privilege of the writ of habeas corpus encompasses

[petitioner’s] claim” and that “because Congress has provided no ‘adequate substitute’ and because

there has been no formal suspension of the writ, [petitioner] is entitled to a habeas corpus

proceeding as to the basis for the Government’s impending action to deport him”); see also Kong,

62 F.4th at 616 (finding that “the effective result of the government’s desired interpretation” of

1252(g) was “to bar all detention-related claims” which “would raise serious constitutional

concerns under the Suspension Clause” because “[a]bsent the right to judicial review through a

habeas petition, the government could detain noncitizens indefinitely without needing to provide

a justification to anyone”); Osorio-Martinez v. Att’y Gen., 893 F.3d 153, 167 (3d Cir. 2018)

(invoking Suspension Clause to protect writ).

        Defendants argue this Court cannot consider Ms. Chung’s claims because, “after

exhausting administrative remedies in the immigration court and at the BIA, she may file a petition



    8
      If the Court needs to reach the outrageousness exception but does not find the exception met on the existing
record, resolution of the issue should be held in abeyance pending discovery. See ECF 30 (seeking discovery relevant
to outrageousness exception).
    9
     Ms. Chung also enjoys due process rights by virtue of being a lawful permanent resident. Zadvydas v. Davis,
533 U.S. 678, 693 (2001) (“[O]nce an alien enters the country, the legal circumstance changes, for the Due Process
Clause applies to all ‘persons’ within the United States, including aliens, whether their presence here is lawful,
unlawful, temporary, or permanent.”).

                                                        10
for review of a final removal order with the appropriate court of appeals.” Mem. at 5. But the

“adequacy of this ‘meaningful opportunity’ to demonstrate that one’s detention is unlawful

depends on ‘the rigor of any earlier proceedings.’” Taylor v. McDermott, 516 F. Supp. 3d 94, 110

(D. Mass. 2021) (quoting Boumediene v. Bush, 553 U.S. 723, 782-83 (2008)). Here, the Policy,

the Rubio Determination, and Defendants’ attempts to detain Ms. Chung are devoid of any rigor

or due process, and Ms. Chung does not have adequate alternatives to this Court’s review under

the Great Writ. See infra Section B.2; see also Osorio-Martinez, 893 F.3d at 167 (holding “INA’s

jurisdiction-stripping provisions effect an unconstitutional suspension of the writ” when

challenged removal regime did not provide adequate substitute process). Defendants’ effort to

subject Ms. Chung to mandatory detention pending the outcome of her removal proceedings

underscores the dire need here for habeas review. See Lopez v. Doe, 681 F. Supp. 3d 472, 488

(E.D. Va. 2023) (holding that “the appeals process following the immigration court’s resolution of

[a] motion to reopen is neither ‘adequate’ nor ‘effective’” because while it “would eventually

resolve his claim, … his detention claim becomes moot on finality”).

       B.      Neither Section 1252(b)(9) nor (a)(5) Bars Ms. Chung’s Claims

       Defendants’ argument that 1252(b)(9) and (a)(5) strip this Court of jurisdiction over Ms.

Chung’s claims misconstrues those claims and advances an extreme interpretation squarely

foreclosed by Supreme Court precedent. Section 1252(a)(5) channels judicial review of a removal

order to the petition for review (“PFR”) process, but there is no such order here. Section 1252(b)(9)

restricts judicial review of factual and legal issues “arising from any action taken or proceeding

brought to remove an alien” to the judicial review available from final orders of removal, but as

shown below Ms. Chung’s claims do not arise from removal proceedings. In stark contrast to

Defendants’ sweeping and mistaken claim that Ms. Chung presents an undifferentiated “challenge

to removal proceedings,” Mem. 7, she in fact challenges (i) an unconstitutional Policy targeting
                                                 11
her and others for protected speech; (ii) the baseless Rubio Determination made by a different

agency that plays no role in removal proceedings; and (iii) other enforcement actions arising from

a retaliatory investigation.10 In a very similar circumstance, a district court rejected the

government’s argument that (b)(9) and (a)(5) would channel review over claims of a selective

enforcement policy targeting noncitizen activists. See NWDC Resistance, 493 F. Supp. 3d at 1012–

13.

           Defendants’ argument that these claims are all reducible to a “challenge to removal

proceedings” distorts both the claims and settled authority confirming the narrow scope of

1252(b)(9). As shown below, Defendants advance precisely the type of expansive interpretation

foreclosed by binding precedent. Where, as here, a claim cannot be meaningfully reviewed through

a PFR, applying 1252(b)(9) to bar that claim would transform a channeling provision into a

jurisdiction-stripping provision, defying the statutory structure. E.O.H.C. v. Sec’y U.S. Dep’t of

Homeland Sec., 950 F.3d 177, 186 (3d Cir. 2020) (“[T]he point of the provision is to channel

claims into a single petition for review, not to bar claims that do not fit within that process.”). The

channeling-vs-stripping distinction is compelled by the Supreme Court’s narrow interpretation of

what claims “arise from” proceedings: it has dismissed as “extreme” and “absurd” broader

readings, such as Defendants’ here, that would render valid claims “effectively unreviewable.”

Jennings, 583 U.S. at 293. This distinction reflects that “[i]n enacting § 1252(b)(9), Congress was

motivated by concern” over duplicative review, “fear[ing] identical issues would be litigated

before the immigration judge, district court, and court of appeals.” Diaz-Bernal v. Myers, 758 F.

Supp. 2d 106, 122 (D. Conn. 2010) (quoting H.R. Rep. No. 109-72); see also id. (reviewing Second

Circuit authority applying presumption favoring judicial review to ensure channeling provisions


      10
       Ms. Chung also challenges her illegal detention, a claim over which this Court has jurisdiction as set forth in
the accompanying reply in further support of her preliminary injunction motion.

                                                         12
only channel claims reviewable before administrative agency). This principle underlying the

channeling-vs-stripping distinction applies fully here and compels the conclusion that the Court

has jurisdiction to hear Ms. Chung’s claims, which could not be heard in removal proceedings or

via PFR.

               1.      Section 1252(b)(9) channels only those issues adjudicated by the IJ or
                       BIA that affect the validity of the final order of removal.

       The Supreme Court has emphasized the “narrow” scope of 1252(b)(9), clarifying that

where, as here, “parties are not challenging any removal proceedings,” “it is certainly not a bar.”

Regents, 591 U.S. at 19. Thus, the Court has rejected “uncritical literalism,” Jennings, 583 U.S. at

293, that would find claims “aris[e] from” removal proceedings merely because the “claims would

not exist but for the Government’s decision to remove an alien.” E.O.H.C., 950 F.3d at 185; see

Jennings, 583 U.S. at 293 (rejecting but-for test). Rather, the issues channeled by 1252(b)(9) and

(a)(5) are much narrower: because these provisions channel to the court of appeals review of a

“final order of removal,” they “encompass only the rulings made by the immigration judge [“IJ”]

or Board of Immigration Appeals [“BIA”] that affect the validity of the final order of removal.”

Nasrallah v. Barr, 590 U.S. 573, 579, 582 (2020) (emphasis added); see also id. (limiting

channeling provisions to “matters on which the validity of the final order is contingent” which

“merge into the final order for purposes of judicial review”) (quoting Immigr. and Naturalization

Serv. v. Chadha, 462 U.S. 919, 938 (1983)) . The Supreme Court “emphasized that this definition

does not ‘encompass all determinations made during and incident to the administrative proceeding

on removability;’” to the contrary, it “excludes a decision that relates to an alien’s ultimate removal

but ‘does not affect the validity’ of” the removal order. Bhaktibhai-Patel v. Garland, 32 F. 4th

180, 189 (2d Cir. 2022) (quoting Nasrallah, 590 U.S. at 584). Under this authority, if the IJ or BIA

cannot pass on a claim—which necessarily means any order of removal is not contingent on a


                                                  13
particular resolution of that claim—it does not merge into a final order of removal and is not

covered by these channeling provisions. As laid out fully below, Ms. Chung, therefore, will not

get another bite at the apple. See NWDC Resistance, 493 F. Supp. 3d at 1012–13 (“The state [sic]

is properly read to preclude a ‘second bite at the apple.’ It should not be interpreted to deprive a

plaintiff of his first bite.”) (quoting Martinez v. Napolitano, 704 3d. 620, 622 (9th Cir. 2012)). For

Ms. Chung’s First Amendment challenge to the Policy, it is, in short, now or never, here or

nowhere.

       Defendants simply ignore this authority, fully applicable and dispositive here. Ms. Chung

does not seek review of a final order, or any issue on which the IJ or BIA would rule in removal

proceedings. The Rubio Determination was not made in removal proceedings, but separate and

apart from contemplated proceedings, which have not commenced. J.E.F.M. v. Lynch, 837 F.3d

1026, 1032 (9th Cir. 2016) (“Ancillary determinations made outside the context of a removal

proceeding, however, are not subject to [the channeling provisions].”) (quoting Torres–Tristan v.

Holder, 656 F.3d 653, 658 (7th Cir. 2011)); Aguilar v. U.S. ICE, 510 F.3d 1, 11 (1st Cir. 2007)

(reading “arising from” “to exclude claims that are independent of, or wholly collateral to, the

removal process”). Even if proceedings commence, as shown below, the IJ and BIA are prohibited

from considering the types of constitutional claims presented here. Moreover, these claims are

irrelevant to the validity of any removal order: under binding BIA precedent, as shown below, the

IJ and BIA cannot inquire into the basis or constitutionality of the Rubio Determination or any

underlying policy or considerations. Thus, Ms. Chung challenges precisely the type of “ancillary”

determinations, see id., made “incident to the administrative proceeding[,]” see Bhaktibai-Patel,

32 F. 4th at 189, which fall outside the scope of the channeling provision.




                                                 14
         Defendants’ invocation of Delgado v. Quarantillo, 643 F.3d 52, 55 (2d Cir. 2011), Mem.

19–20, does nothing to change this analysis. In stark contrast to the claims presented here, the

plaintiff there sought to escape the legal consequences that flowed from a prior removal order by

forcing adjudication of a relief application that would “render … invalid” that existing order. Id.

Thus, although not styled a challenge to a removal order, the Court held the “substance of the

relief” implicated the validity of a removal order. Id.11 Here, no removal order exists; proceedings

have not commenced; and, if commenced, proceedings would not entail consideration of issues

presented here, such as whether the Rubio Determination was unconstitutional. The substance of

the relief sought here would not invalidate any removal order. Rather, it is more akin to a collateral

challenge to a criminal conviction that could form the basis for future removal proceedings12—

which indisputably falls outside the scope of 1252(b)(9).

                  2.       If 1252(b)(9) channels Ms. Chung’s claims, they will never receive
                           review, the “extreme” result that Jennings cautions against.

                           a.        Review is unavailable in either immigration court or before the
                                     Board of Immigration Appeals.

         Ms. Chung’s claims generally fall outside the authority of the IJ and BIA to review, because

they lack power to hear constitutional challenges. See, e.g., United States v. Gonzales-Roque, 301

F.3d 39, 47 (2d Cir. 2002) (“[C]onstitutional claims lie outside the BIA’s jurisdiction[.]”); Matter

of G-K-, 26 I. & N. Dec. 88, 96 (BIA 2013) (powerless to address void-for-vagueness claim);



    11
       Although the relief application in Delgado was adjudicated by USCIS, and not formally as a part of removal
proceedings, relief and waiver applications of the sort at issue there are routinely adjudicated in removal proceedings
as part of the process of determining whether to enter a final order of removal. Delgado emphasized that the agency’s
“division of administrative responsibility” over routine adjudications of removability and relief applications did not
permit plaintiff to “circumvent” the scheme whereby issues affecting the validity of an order are channeled. Id. This
logic does not apply here, where the Rubio Determination is made by another executive branch agency—never through
removal proceedings—and its constitutionality vel non is both unreviewable in proceedings and irrelevant to whether
the agency enters a final order of removal.
    12
       Indeed, the BIA expressly held that the Secretary of State determination is “equivalent to a duly-certified record
of criminal conviction by a state or federal court.” In re Ruiz-Massieu, 22 I&N Dec. 833, 844 (BIA 1999).

                                                          15
Matter of C-, 20 I. & N. Dec. 529, 532 (BIA 1992) (powerless to address ex post facto claim since

“it is settled that the [IJ] and this Board lack jurisdiction to rule upon the constitutionality of the

[INA] and the regulations”); Matter of Valdovinos, 18 I. & N. Dec. 343, 345 (BIA 1982)

(powerless to address overbreadth). This limitation holds for as-applied constitutional challenges

too, with few exceptions not relevant here.13 Matter of Ramos, 15 I. & N. Dec. 671, 675 (BIA

1976) (powerless to address respondent’s “as applied” equal protection and due process challenges

because “we do not entertain constitutional challenges”); Matter of H-, 3 I. & N. Dec. 411, 419,

456 (BIA 1949) (powerless to address First Amendment and retroactivity arguments “as applied

to the respondent”).

         The fact that IJ authority is limited to examining whether the government can support its

proffered grounds for removal, 8 C.F.R. § 1240.1(a), only further confirms that Ms. Chung’s

claims cannot be reviewed in removal proceedings. In the context of the Foreign Policy Ground,

DHS carries its burden to establish its proffered ground of removability by presenting a

determination by the Secretary of State under 1227(a)(4)(C) that cites a facially “legitimate and

bona fide” reason. In re Ruiz-Massieu, 22 I & N. Dec. 833, 846 (BIA 1999).14 This may be done

without regard to the resolution of any of the issues presented by Ms. Chung’s claims in the instant

action. The BIA has made clear that the IJ must treat the Rubio Determination “as conclusive

evidence of the respondent’s deportability,” rejecting the view that the “Immigration Judge [or]

this Board [have the] authority to question the validity of that determination.” Id. at 843 (cleaned


    13
        The BIA can consider certain “due process claim[s] alleging a procedural error” in the immigration proceeding
itself, because such errors would be “correctable by the administrative tribunal.” Gonzales-Roque, 301 F.3d at 47.
Consistent with this principle, IJs may engage in limited suppression analyses involving the introduction of evidence
gathered through improper means. Almeida-Amaral v. Gonzales, 461 F.3d 231 (2d Cir. 2006). However, Defendants
do not argue, nor could they, that the IJ or BIA may decide the constitutional questions presented here.
    14
       Indeed, the “facially legitimate and bona fide” standard forecloses “balanc[ing] the reason given against [an]
asserted constitutional right.” Dep’t of State v. Muñoz, 602 U.S. 899, 908 (2024).


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up); see also Immigration Practitioners Amicus Br. 11–13, ECF 28-1 (examining extreme BIA

deference to Secretary’s determination). Indeed, IJs may not even inquire into the

“reasonableness” of the Secretary of State’s determination, Ruiz-Massieu, 22 I. & N. Dec. at 833,

much less whether it was unconstitutional retaliation, id. at 838 n.6 (noting BIA has no authority

to address First Amendment and void-for-vagueness claims asserted in parallel federal court suit).

Thus, the regulations and caselaw clearly prohibit administrative examination of whether the

Rubio Determination or underlying Policy are unlawful.

       Consistent with the foregoing, courts uniformly find actions are not covered by 1252(b)(9)

where a plaintiff’s claims cannot be heard in removal proceedings. These claims do not “arise

from” removal proceedings but instead are “independent of, or wholly collateral to, the removal

process.” Aguilar, 510 F.3d at 11 (“[C]ertain claims, by reason of the nature of the right asserted,

cannot be raised efficaciously within [removal] proceedings. . . . Given Congress’s clear intention

to channel, rather than bar, judicial review through . . . 1252(b)(9), reading ‘arising from’ as used

in that statute to encompass those claims would be perverse.”); see also, e.g., Diaz-Bernal, 758 F.

Supp. 2d at 122 (“[B]ecause the immigration judge could not have afforded the plaintiffs relief for

the constitutional claims raised in this action, those claims do not arise out of the order of removal,

and jurisdiction is not barred by section 1252(b)(9).”); Jafarzadeh v. Duke, 270 F. Supp. 3d 296,

300, 309 (D.D.C. 2017) (exercising jurisdiction over constitutional challenge to “agency-wide

policy” that resulted in removability as not direct challenge to removal and “outside of the scope

of the administrative process”). Defendants point to no cases where 1252(b)(9) was applied to

channel a claim that would be entirely unreviewable in removal proceedings, and there is none.

       Instead, Defendants advance precisely the type of “expansive interpretation” of “arising

from” that “would lead to staggering” and “absurd” results. Jennings, 583 U.S. at 293. As noted,



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in Massieu, the BIA indicated that the immigration court’s role in adjudicating removability under

the Foreign Policy Ground was largely “ministerial,” and that the immigration court was required

to treat the Secretary of State’s determination as the “equivalent to a duly certified record of

criminal conviction by a state or federal court.” Id. at 844; see also Matter of Khalik, 17 I & N

Dec. 518, 519 (BIA 1980) (holding that “immigration judge cannot go behind the judicial record

[of conviction]”). In the same way individuals with state and federal court convictions can

challenge the validity of those convictions in collateral proceedings, yet are unable to challenge

the validity of those convictions before an IJ and the BIA, Ms. Chung must be afforded the chance

to challenge the validity of the Rubio Determination in collateral proceedings; indeed, it will be

her only chance. Cf. E.O.H.C., 950 F.3d at 180 (explaining that Jennings establishes a “now-or-

never principle”—“[i]f later is not an option, review is available now”).

                      b.      Ms. Chung’s constitutional claims cannot be reviewed in a
                              petition for review by the Second Circuit.

       Nor is the unavailability of administrative review cured by the PFR process. Given that

IJs—and, a fortiori, the BIA—have no authority to build a factual record relevant to these issues,

it would not be possible for the Court of Appeals to consider her fact-specific First Amendment

and due process claims. See Fla. Power & Light Co. v. Lorion, 470 U.S. 729, 744 (1985) (requiring

remand where “reviewing court simply cannot evaluate the challenged agency action on the basis

of the [agency] record” because it “is not generally empowered to conduct a de novo inquiry into

the matter being reviewed”); Diaz v. Paterson, 547 F.3d 88, 97 (2d Cir. 2008) (“Due process is

inevitably a fact-intensive inquiry.”) (cleaned up); Radwan v. Manuel, 55 F.4th 101, 124 n.14 (2d

Cir. 2022) (calling First Amendment and related due process claims “extremely fact-specific”).

Indeed, the Second Circuit has recognized that the IJ and BIA lack authority to consider First

Amendment retaliation claims and that judicial review via PFR is thus unavailable, indicating that


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the only recourse is to the district court. Lennon v. Immigr. and Naturalization Serv., 527 F.2d 187,

195 (2d Cir. 1975) (instructing district court to hear any such claim “expeditiously” if needed and

advising that “courts will not condone selective deportation based upon secret political grounds”).

The same principles are fully applicable here and foreclose any suggestion that the PFR process

provides an avenue for Ms. Chung’s claims.

         Recent experience with proceedings under the Foreign Policy Ground confirms the

foregoing. This Court need look no further than the removal proceedings underway in the case of

Mahmoud Khalil, another U.S. lawful permanent resident student at Columbia University whom

Defendants have similarly arrested and targeted under the same unlawful Policy, and who is

mentioned in the same Rubio Determination memo filed with this Court. See Vides Decl. Ex. A.

Letter from Petitioner, Khalil v. Trump, 25-cv-1963 (D.N.J. Apr. 12, 2025), ECF 198-1.15

         Second, any considerations that led a different executive branch agency to determine Ms.

Chung’s presence in the United States compromised foreign policy interests because of her

political speech will not form a part of the removal order that receives judicial review via PFR.

Any constitutional violations underlying the Rubio Determination, the Policy, and the

investigation leading up to the Determination as applied to Ms. Chung will not “merge” into a final

order of removal because they do not affect the validity of any final order of removal. They are

legally irrelevant to the IJ and BIA’s adjudication of removability, and beyond the scope of issues

they are authorized to consider. See supra Section I.A.3. Thus, these issues necessarily do not

“affect the validity” of any final order of removal, and as such cannot be reviewed through the

PFR process. See Bhaktibhai-Patel v. Garland, 32 F.4th 180 at 189; see also Torres-Tristan v.



    15
       See also Oliver Laughland, US judge rules Mahmoud Khalil can be deported for his views, THE GUARDIAN
(Apr. 11, 2025), available at https://www.theguardian.com/us-news/2025/apr/11/mahmoud-khalil-deportation-ruling-
immigration.

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Holder, 656 F.3d 653, 658 (7th Cir. 2011) (rejecting PFR jurisdiction over “ancillary

determination” because it is a “decision separate and apart from the final order of removal”).

Finding these claims covered by (b)(9) would not channel them, but rather would render them

unreviewable in the absolute, a result in direct contradiction to the Supreme Court’s guidance. See

Jennings, 583 U.S. at 293.

       Defendants rely on Massieu v. Reno, Opp. 21, but that decision is inapposite. In Massieu,

the district court held the Foreign Policy Ground to be unconstitutional on three bases, all of which

were facial: (i) under the void for vagueness doctrine, (ii) on due process grounds, and (iii) as an

unconstitutional delegation of legislative power. 91 F. 3d 416, 418 (3d Cir. 1996). Characterizing

those claims as “directly challeng[ing] deportability,” the Third Circuit held, interpreting pre-

(b)(9) provisions of the INA, that Massieu could bring such a challenge through a PFR. Id. at 421.

In stark and dispositive contrast to the situation here, the court emphasized that all of Massieu’s

claims could “receive meaningful judicial review” via PFR. Id.

II.    MS. CHUNG’S CLAIMS ARE NOT OTHERWISE DEFECTIVE

       A.      Ms. Chung Is in Custody for Purposes of Habeas Relief Because Her Liberty
               Is Substantially Curtailed

       This Court “would badly serve the purposes and the history of the writ to hold that . . . the

petitioner’s failure to spend even 10 minutes in jail is enough to deprive the District Court of power

to hear [her] constitutional claim.” Hensley v. Mun. Ct., San Jose Milpitas Jud. Dist., 411 U.S.

345, 353 (1973). Ms. Chung can invoke habeas relief because she is “in custody in violation of the

Constitution or laws or treaties of the United States,” as contemplated by 28 U.S.C. § 2241(c)(3).

“[A]bsent judicial intervention,” Ms. Chung is at the mercy of the government, which has declared

its intention to arrest, detain, and deport her all in retaliation for her lawful expressive activity.




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Ragbir, 923 F.3d at 76. Her liberty—both at the time of filing and right now—is substantially

curtailed.

        The Second Circuit’s recent decision in Ragbir is instructive. See Ragbir, 923 F.3d at 53.

The Court of Appeals looked closely at Hensley, which had found that “an individual released on

his own recognizance from state detention remained in the state’s custody.” Id. at 75 (citing

Hensley, 411 U.S. at 351). The Ragbir court explained:

                Two primary considerations drove the Court’s conclusion in
                Hensley. First, the petitioner was “subject to restraints not shared by
                the public generally” because “[h]is freedom of movement rest[ed]
                in the hands of state judicial officers, who may demand his presence
                at any time and without a moment’s notice.” Second, the petitioner
                “remain[ed] at large only by the grace of a stay entered first by the
                state trial court and then extended by two Justices of [the Supreme]
                Court.”

Ragbir, 923 F.3d at 75 (quoting Hensley, 411 U.S. at 351) (alterations in Ragbir). And, as the

Second Circuit noted, Hensley had rejected the argument that habeas relief would be available only

when that petitioner was again physically detained. Id. at 353. The Supreme Court has stated even

more directly that “the writ is available . . . to attack future confinement and obtain future releases.”

Preiser v. Rodriguez, 411 U.S. 475, 487 (1973) (emphasis added).

        Comparing Ragbir’s situation to that of Hensley’s, the Ragbir court found “clear”

similarity. Ragbir, 923 F.3d at 75. Ragbir would “obvious[ly]” have been in custody for purposes

of habeas relief if he were currently in the government’s physical confinement or had already been

deported—but the fact that he was neither was “not for a lack of effort on the part of the

Government.” Id. at 75–76. Much like in Hensley, where the government had “emphatically

indicated its determination to put [the petitioner] behind bars” without court-ordered relief,

Hensley, 411 U.S. at 351, Mr. Ragbir’s deportation process was stopped only because he had

obtained relief from the district court, and at oral argument on appeal. “[T]he Government could


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not represent . . . that—absent a stay entered by [the] Court and the stay previously entered in the

District of New Jersey—ICE would not deport Ragbir pending resolution of this appeal.” Ragbir,

932 F.3d at 76. Because Ragbir faced imminent deportation, “which necessarily involves a period

of detention,” the Second Circuit found a “present, substantial curtailment of Ragbir’s liberty,”

and, accordingly, that he was in custody for purposes of habeas relief. Id. (quoting Hensley, 411

U.S. at 351).

        So too here. Ms. Chung faces imminent detention and deportation proceedings: Defendants

explicitly acknowledge that ICE has attempted to locate her “to perform a civil arrest” starting on

March 8 and continuing to “the present.” Vides Decl. ¶ 10. Defendants have spared no effort to

arrest and detain Ms. Chung, a 21-year-old college junior. Among other things, ICE has issued

multiple administrative subpoenas to Columbia University for surveillance footage and Ms.

Chung’s swipe card access data, and ICE agents even executed a judicial warrant for Ms. Chung’s

records. Id. ¶¶ 13-16. Defendants also state affirmatively that, “because of the federal court’s TRO

entered on March 25, 2025, ICE has been unable to arrest and detain Petitioner,” id. ¶ 17—that is,

like the Hensley and Ragbir petitioners, Ms. Chung remains free only because this Court has

temporarily restrained Defendants from arresting and detaining her. If she is detained (in violation

of her constitutional rights), Defendants have conceded that she will not have access to a bond

proceeding during her removal proceedings, so Ms. Chung would face indefinite detention. See

Levitova Decl., Ex. B at 4:4-6, 6:21-7:1.

        The Hensley Court’s rationale is all the more salient here, given Defendants’ tactic of

rapidly transferring individuals it targets in retaliation for their lawful speech to remote detention

centers far from family and community.16 There is little reason to reason to believe that Defendants


16
  ICE moved Mr. Khalill from New York to Louisiana, via New Jersey and Georgia; Dr. Khan Suri from Virginia to
Louisiana and then Texas; Ms. Kordea from New Jersey to Texas, Compl. ¶¶ 99-140, ECF No. 1, and Ms. Öztürk

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here do not wish to also transfer Ms. Chung far away from her home, family, and friends. Although

Defendants suggest that Ms. Chung should submit to unconstitutional and unlawful detention and

only then file habeas “in the district of confinement,” Mem. at 20, not only would this subvert the

purpose of the writ, but it would also create an impermissible “gap in the fabric of habeas.” Khalil

v. Joyce, 2025 WL 972959, at * 37 (D.N.J. Apr. 1, 2025) (“Our tradition is that there is no gap in

the fabric of habeas—no place, no moment, where a person held in custody in the United States

cannot call on a court to hear his case and decide it.”); Ozturk, 2025 WL 1145250, at *14

(considering delay it would take noncitizen to potentially receive review through PFR process as

compared to habeas and determining it would lead to impermissible gap in habeas rights).

        She is, for purposes of habeas relief, in custody as contemplated by 28 U.S.C. § 2241.

Defendants cite no caselaw at all to refute this conclusion.

        B.       The Political Question Doctrine Is Inapplicable

        Defendants advance a bold proposition: that the executive branch may freely seek to detain

a permanent resident who has called the United States home since she was seven years old and

who is now a college junior solely in retaliation for her constitutionally-protected speech that took

place entirely within the United States and concerned matters related to her university’s handling

of student discipline. Defendants claim they can do this free from any judicial review or scrutiny

whatsoever because they chose to retaliate against Ms. Chung based on an INA provision that

mentions foreign policy. Mem. at 22–23 (Ms. Chung’s claims are nonjusticiable because they

implicate “foreign affairs” and “immigration policy”). As the Supreme Court observed in another

context, the First Amendment and due process protections squarely implicated here would be a




from Massachusetts to New Hampshire, to Vermont, to Georgia, and finally Louisiana, Ozturk, 2025 WL 1145250, at
*2-3. ICE planned to move Mr. Mahdawi to Louisiana but was thwarted by court order. Order, Mahdawi v. Trump,
No. 25-cv-389 (D. Vt. Apr. 14, 2025), ECF No. 6.

                                                      23
“craven watchdog indeed if it retreated to its kennel” whenever Defendants invoked any foreign

policy consideration, no matter how implausible, in the context of unconstitutional retaliation.

Morrison v. Nat'l Australia Bank Ltd., 561 U.S. 247, 266 (2010). Defendants commit the “error”

of “suppos[ing] that every case or controversy which touches foreign relations lies beyond judicial

cognizance.” Baker v. Carr, 369 U.S. 186, 211 (1962). But it is an “obligation of the federal courts

to exercise the jurisdiction given them,” Colo. River Water Conservation Dist. v. United States,

424 U.S. 800, 817 (1976), even in cases they “would gladly avoid[,]” Zivotofsky v. Clinton, 566

U.S. 189, 194 (2012).

       Ms. Chung’s claims do not require the Court to evaluate foreign policy; rather, they ask

the Court to assess executive action under longstanding U.S. constitutional principles. Courts “will

not stand impotent before an obvious instance of a manifestly unauthorized exercise of power.”

Baker, 369 U.S. at 217. “[I]t is a court’s duty to determine whether the political branches, in

exercising their powers, have ‘chosen a constitutionally permissible means of implementing that

power.’” Planned Parenthood Fed’n of Am., Inc. v. Agency for Int’l Dev., 838 F.2d 649, 655-56

(2d Cir. 1988) (quoting Chadha, 462 U.S. at 941).

       The political question doctrine is a “narrow exception” to courts’ presumptive exercise of

jurisdiction. Zivotofsky, 566 U.S. at 195. Here, straightforward constitutional jurisprudence creates

“judicially manageable standards” to adjudicate Ms. Chung’s claims. Baker, 369 U.S at 217; see

Klinghoffer v. S.N.C. Achille Lauro Ed Altri-Gestione Motonave Achille Lauro in Amministrazione

Straordinaria, 937 F.2d 44, 49 (2d Cir. 1991) (“The fact that the issues before us arise in a

politically charged context does not convert what is essentially an ordinary tort suit into a non-

justiciable political question.”); see also Kadic v. Karadzic, 70 F.3d 232, 249 (2d Cir. 1995) (“Not

every case ‘touching foreign relations’ is nonjusticiable, and judges should not reflexively invoke



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these doctrines to avoid difficult and somewhat sensitive decisions in the context of human

rights.”) (internal citations omitted). There is nothing novel about Ms. Chung’s First Amendment,

due process, or other claims; rather, Defendants seem to conflate the public attention that their

outrageous and unwarranted course of action in this case has naturally drawn with a lack of

judicially manageable standards.

       Even assuming the Policy, or its application to Ms. Chung, “declares a foreign or national

policy . . . , it does not follow that” subjecting her to “unconstitutional limitations on [her] free

speech is also foreign or national policy.” Planned Parenthood, 838 F.2d at 656. As here, a

constitutional challenge to the application of executive branch policy to a plaintiff whose First

Amendment rights are infringed “merely requires the court to apply well-established principles of

First Amendment jurisprudence, an area traditionally vested in the federal courts.” Id.; see also

Khouzam v. Att’y Gen. of U.S., 549 F.3d 235, 250 (3d Cir. 2008) (“We apply Baker with particular

caution . . . where individual liberty hangs in the balance.”). Indeed, even in the context of a highly

sensitive inter-branch dispute about Jerusalem, the Supreme Court has affirmed that applying

constitutional law to a challenge to executive authority is “a familiar judicial exercise.” Zivotofsky,

566 U.S. at 196. Ultimately, the principle that courts must review claims regarding the legality of

executive action is as old as the Republic, see Marbury v. Madison, 5 U.S. 137, 166 (1803), and it

would be a shocking perversion of the political question doctrine were executive branch say-so

about “foreign policy considerations” permitted to eviscerate core First Amendment protections

within the United States.

       Defendants’ position to the contrary proves too much and would swallow the First

Amendment. On their view, immigration is always a political issue pertaining to foreign relations,

and such issues are always beyond judicial review. Mem. 23–24. This would immunize all



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immigration policies of any significance from judicial review, but that is simply not the law. See,

e.g., Regents, 591 U.S. at 1; Biden v. Texas, 597 U.S. 785 (2022). Defendants do not, and cannot,

explain what foreign policy issues are implicated by this Court’s evaluation of the executive’s

retaliation against Ms. Chung for her legally protected speech concerning domestic issues.

                                        CONCLUSION

       For the foregoing reasons, Defendants’ motion to dismiss Ms. Chung’s complaint should

be denied.




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Dated: April 29, 2025        Respectfully submitted,
       New York, NY

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                             CERTIFICATE OF COMPLIANCE

       Pursuant to Local Rule 7.1, the above-named counsel hereby certifies that this brief

complies with the word count limitation of Local Civil Rule 7.1(c).

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